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                      UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF LOUISIANA

DEEP SOUTH TODAY, et al.,

                                PLAINTIFFS,

      v.                                      Civil Action No. 3:24-cv-623

ELIZABETH B. MURRILL, et al.,                 Judge: JWD - SDJ

                            DEFENDANTS.




                        REPLY IN SUPPORT OF
            DEFENDANTS’ CONSOLIDATED MOTION TO DISMISS
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                                        INTRODUCTION

        Act 259 says only: “No person shall knowingly or intentionally approach within twenty-five

feet of a peace officer who is lawfully engaged in the execution of his official duties after the peace

officer has ordered the person to stop approaching or to retreat.” 2024 La. Sess. Law Serv. Act 259

(H.B. 173) (codified at La. R.S. 14:109(A)) (“Act 259”). That would be welcome news to a reader of

Plaintiffs’ opposition, which never once mentions the text of the statute it purports to challenge.

        Dismissal for lack of subject matter jurisdiction remains warranted. Everyone agrees: Plaintiffs

cannot point to one instance of these Defendants (or indeed, anyone else) asking them to retreat

according to Act 259 while newsgathering for the last five months. That concession runs into binding

Fifth Circuit precedent that precludes standing and ripeness here—and that is especially so for their

“as-applied” claim. And standing for the vagueness claim fares even worse under controlling Fifth

Circuit case law. See Nat’l Press Photographers Ass’n v. McCraw, 90 F.4th 770, 782 (5th Cir. 2024). The

same considerations entitle Attorney General Murrill and Colonel Hodges to dismissal for sovereign

immunity because neither has the requisite authority to enforce Act 259 specifically, and certainly have

not demonstrated a willingness to use whatever general authority they do have to do so.

        The Court can also dismiss each claim on the merits. Most surprisingly, Plaintiffs’ stray

vagueness argument—relegated to a single paragraph on the last page of their preliminary injunction

motion—has become their frontrunner. Compare PI Mem. 24; with MTD Opp. 1–2, 13. That is likely

because their First Amendment claims fail from the jump. Act 259 regulates conduct, not speech, and

any incidental effects on expressive activity fall well within the First Amendment. The overbreadth

claim cannot withstand the demanding test in Moody v. NetChoice, LLC, 144 S. Ct. 2383 (2024). And

the newly crowned vagueness claim is just a redux of those faulty First Amendment claims. That

Plaintiffs no longer assert any confusion about what conduct Act 259 proscribes is yet another reason

their void-for-vagueness claim is a dud. Accordingly, the Complaint should be dismissed in its entirety.


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                                                      ARGUMENT

    I.        The Court Should Dismiss Plaintiffs’ Claims Under Rule 12(b)(1) For Lack of
              Subject Matter Jurisdiction.

          Plaintiffs’ opposition confirms that the Court should dismiss without prejudice for lack of

subject matter jurisdiction. That is principally because all agree that, for five months now, despite

interactions with police at least “once a day,” PI Mem. at 4, 6, Plaintiffs, which represent every major

legacy news outlet in the State, cannot point to a single instance that Act 259 has been applied to

them—not an order, not an arrest, not a prosecution. MTD Opp. 3; see Burns Decl. at ¶¶ 9–10; Moore

Decl. at ¶ 8. That is a damning concession for this Court’s subject matter jurisdiction, for which

Plaintiffs have and always will have the burden of proof. See Carney v. Adams, 592 U.S. 53, 59 (2020).1

          A. Plaintiffs’ Claims Are Not Ripe.

          Dismissal of Plaintiffs’ claims remains warranted most clearly on ripeness grounds. Far from

a mere label, ripeness itself is a constitutional minimum under Article III that requires both that the

claim be “fit[]” “for judicial decision” and there be “hardship” from “withholding court

consideration.” Book People, Inc. v. Wong, 91 F.4th 318, 333 (5th Cir. 2024); see Murthy v. Missouri, 603

U.S. 43, 61 (2024) (evaluating jurisdiction as to “each claim [plaintiffs] press”). Plaintiffs fumble both.

          On the hardship front, it is hard to envision what imminent hardship Plaintiffs face given

Act 259 has not been applied to them for nearly five months. See MTD Opp. 3; see Couhig v. Brown, 538

F. Supp. 1086, 1088 (E.D. La. 1982). That is perhaps why Plaintiffs altogether fail to identify the sort

of “legal harms” that they might face from delayed adjudication with a ripened factual record. See

Choice Inc. of Tex. v. Greenstein, 691 F.3d 710, 715 (5th Cir. 2012)




          1 Plaintiffs cannot seriously contend that Defendants bear the burden of disproving their claims are justiciable at this

stage. Compare MTD Opp. 5 n.1, with Garden Dist. Book Shop, Inc. v. Stewart, 184 F. Supp. 3d 331, 337–38 (M.D. La. 2016)
(the legal question of whether a law satisfies strict scrutiny is the State’s burden).

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        On the fitness front, it is no answer that pre-enforcement challenges can be fit for judicial

review—when Plaintiffs cannot say how their claims are fit. See, e.g., Choice Inc., 691 F.3d at 715 (5th

Cir. 2012) (unripe claims pre-enforcement for fitness issues); Socialist Labor Party v. Gilligan, 406 U.S.

583, 587–88 (1972) (unripe claims pre-enforcement for fitness issues from slim factual record);

Kleinpeter v. La. State Bd. of Med. Examiners, 2011 WL 2413455, at *3 (M.D. La. June 10, 2011)

(“await[ing] further factual development” to “avoid becoming embroiled in an adjudication that may

later turn out to be unnecessary or may require premature examination of issues that time may make

easier”); contra MTD Opp. 4–5.

        Without so much as a single Act 259 order to stand back, Plaintiffs’ vagueness and overbreadth

claims are plainly unripe. The best example may be the facial challenge in Roark & Hardee LP v. City

of Austin, 522 F.3d 533, 547 (5th Cir. 2008), which Plaintiffs cite approvingly, MTD Opp. 4. In that

post-trial appeal, the court expressed some ripeness skepticism because “[i]n the context of pre-

enforcement review … examining facial vagueness is often difficult, perhaps impossible, because facts

are generally scarce.” Id. As the court clarified, the only reason those plaintiffs were able to overcome

ripeness is because they had been “charged for violating the ordinance prior to the evidentiary

hearing.” Id. Only “[d]ue to this development” were plaintiffs able to “adduce[ ] at trial … an adequate

record of the ordinance’s operation and particularized harmful effect on” the plaintiffs “to permit a

determination of whether the [ordinance] [wa]s impermissibly vague in all its applications.” Id.; see, e.g.,

Bell v. Keating, 697 F.3d 445, 449 (7th Cir. 2012) (plaintiff “was arrested under that ordinance”); Seals v.

McBee, 898 F.3d 587, 592 (5th Cir. 2018) (plaintiff “was arrested” and “legally subject to prosecution”).

Here, by contrast, everyone agrees no such charge has occurred. MTD Opp. 3; see Burns Decl. at ¶¶ 9–

10; Moore Decl. at ¶ 8. That dooms the ripeness of Plaintiffs’ facial claims based on both the First

and Fourteenth Amendments.




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        The as-applied claim also fails on ripeness grounds because, perhaps obviously, Act 259 has

never been applied to these Plaintiffs. MTD Opp. 3. More, it remains entirely speculative whether an

Act 259 prosecution would ever occur—especially by the only Defendant who can prosecute such a

crime. See Moore Decl. ¶¶ 6, 11. To evade that reality, Plaintiffs say even the as-applied claim is “purely

legal.” MTD Opp. 4. But that flies in the face of the legal landscape. See Justice v. Hosemann, 771 F.3d

285, 292 (5th Cir. 2014) (“a developed factual record is essential”). For much the same reason the

Plaintiffs lack standing for their as-applied claim, infra Section I.B.1, their premature as-applied claim

faces an insurmountable ripeness hurdle.

        B. Plaintiffs Lack Article III Standing.

            1. Plaintiffs Do Not Have Standing For Their As-Applied Claim (Count I).

        As to standing, Plaintiffs still have no answer for Justice v. Hosemann, 771 F.3d 285 (5th Cir.

2014). See MTD Opp. at 7–9. Nor could they. There are no facts here that would allow this Court to

assess an as-applied challenge to Act 259 because Act 259 has never been applied to Plaintiffs. See MTD

Opp. 3; Burns Decl. at ¶¶ 9–10; Moore Decl. at ¶ 8. Applying Justice, therefore, Plaintiffs lack standing

to sustain an as-applied challenge to Act 259 because “the record is bereft of facts,” so “the scope of

[any] as-applied ruling [will] necessarily [be] vague, and the hallmarks of a traditional as-applied

remedy—dependability and a limited scope—[will be] entirely absent.” Id. at 294. Indeed, not a single

factual allegation in the Complaint links these Defendants to Plaintiffs’ alleged injury or demonstrate

how enjoining these Defendants might redress that injury. See Compl. ¶¶ 26–57. Without “a sufficiently

specific record,” the Courts must “decline[ ] to issue as-applied remedies” that Plaintiffs request. Id.

(collecting cases).

        Regarding Justice, the best Plaintiffs can muster is arguing that while their factual record is

indeed “scant,” Defendants must identify some “uncertainty” in Plaintiffs’ proposed conduct that

prevents the Court from fashioning a facial remedy based on those as-applied allegations. MTD


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Opp. 8. Respectfully, that is a gross misapprehension of Fifth Circuit precedent. Just look to Speech

First, Inc. v. Fenves, 979 F.3d 319 (5th Cir. 2020), as revised (Oct. 30, 2020), which Plaintiffs cite

approvingly. The panel there stressed that “[t]he distinction between facial and as-applied challenges

bears legal significance” for standing purposes. Id. at 335 (quoting Speech First, Inc. v. Schlissel, 939 F.3d

756, 766 (6th Cir. 2019) (“The distinction between facial and as-applied challenges bears legal

significance when assessing standing.”)). Only for the plaintiffs’ “facial challenge” did they have

standing in a pre-enforcement suit. Id. at 330, 334–35. The same could not be said for an as-applied

claim because “a party cannot challenge a statute as-applied unless the statute has been applied….”

Ctr. for Individual Freedom v. Carmouche, 449 F.3d 655, 659 (5th Cir. 2006) (citing Adams v. Askew, 511

F.2d 700, 704 (5th Cir. 1975)); accord Justice, 771 F.3d at 292–93 (collecting cases). That is precisely the

problem with Plaintiffs’ as-applied claim here.

             2. Plaintiffs Do Not Have Standing For Their Facial Overbreadth Claim
                (Count II).

        Plaintiffs also cannot sustain their facial challenge. As detailed before, MTD Mem. 9–10,

alleging “subjective chill” is not enough, see Couhig v. Brown, 538 F. Supp. 1086, 1088 (E.D. La. 1982).

Even for a facial challenge, Plaintiffs must be “seriously interested in disobeying,” and Defendants

must be “seriously intent on enforcing, the challenged measure.” Justice, 771 F.3d at 291 (citation and

internal quotation omitted). That is because “facial challenges ‘rest on speculation,’ ‘short circuit the

democratic process,’ and sit uncomfortably with Article III.” NetChoice, L.L.C. v. Paxton, No. 21-51178,

2024 WL 4704574, at *1 (5th Cir. 2024); see Moody v. NetChoice, LLC, 144 S. Ct. 2383, 2428 (2024)

(Alito, J., concurring) (facial challenges “strain the limits of the federal courts’ constitutional authority

to decide only actual ‘Cases’ and ‘Controversies’ ” ) . Of course, facial challenges to “statutes that facially

restrict expressive activity by the class to which the plaintiff belongs” can trigger an Article III injury. Speech

First, 979 F.3d at 335 (emphasis added).



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        But the problem is Plaintiffs have yet to explain how Act 259 facially restricts expressive

activity by newsgatherers. As Plaintiffs agree, MTD Opp. 4, “[o]n a facial challenge,” courts “do not

look beyond the text.” Freedom Path, Inc. v. Internal Rev. Serv., 913 F.3d 503, 508 (5th Cir. 2019). That is

so because “[a] ‘facial challenge’ to a statute considers only the text of the statute itself, not its

application to the particular circumstances of an individual.” Id. And the relevant portion of Act 259

here says only that “No person shall knowingly or intentionally approach within twenty-five feet of a

peace officer who is lawfully engaged in the execution of his official duties after the peace officer has

ordered the person to stop approaching or to retreat.” La. R.S. 14:109(A). No one can reasonably read

Act 259 to “arguably facially restrict[ ]” newsgathering—recording, photographing, interviewing,

monitoring, or otherwise observing peace officers. Speech First, 979 F.3d at 335. And so Act 259 simply

does not facially proscribe any expressive activity—much less that conduct. See MTD Mem. 15–17.

That means Plaintiffs lack standing for their facial challenge.

        Unable to overcome that conclusion, Plaintiffs retreat to an incredibly narrow version of the

purported “infringement” on newsgathering. On their newest telling, Act 259 does not prevent all (or

even most) newsgathering. It, instead, only proscribes “approaching the scene of newsworthy events”

for “newsgathering within 25 feet of law enforcement officers.” MTD Opp. 6–7 (quoting Compl.

¶¶ 49, 59). But Freedom Path rejected that same sort of reliance on as-applied speculation for facial-

challenge standing purposes because it “leaves the facial terms of the [statute] behind and moves into

the arena of an as-applied challenge.” 913 F.3d at 507. Whatever “chilled-speech injury” may exist in

the as-applied hypothetical cannot be “traceable to the text of ” Act 259, “meaning [Plaintiffs] do[ ]

not have standing to bring this facial challenge.” Id. at 508.

            3. Plaintiffs Do Not Have Standing For Their Due Process Claim (Count III).

        Binding Fifth Circuit precedent also forecloses Plaintiffs’ void-for-vagueness standing theory.

The precedent could not be clearer: A plaintiff who has “never been arrested or prosecuted for


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violating” a criminal statute “lack[s] standing to preemptively challenge [it] under the Due Process

Clause.” Nat’l Press Photographers Ass’n v. McCraw, 90 F.4th 770, 782 (5th Cir. 2024), cert. denied sub nom.

Nat’l Press Photographers v. Higgins, No. 23-1105, 2024 WL 4426550 (U.S. Oct. 7, 2024). In other words,

when “the available evidence suggests that Defendants have never enforced [the statute] against

Plaintiffs (or anybody else),” “[t]he issue of whether the [challenged] provisions are unlawfully vague

in their proscriptions is therefore a mere hypothetical dispute lacking the concreteness and imminence

required by Article III.” Id. Again, Plaintiffs wholly agree they (and their employees) have never been

subject to an Act 259 order, arrest, or prosecution. See MTD Opp. 3; Burns Decl. at ¶¶ 9–10; Moore

Decl. at ¶ 8. So, under National Press Photographers, Plaintiffs plainly cannot press their vagueness claim.

        Nor does it matter that Plaintiffs “should not be required to await and undergo a criminal

prosecution” for a vagueness challenge. MTD Opp. 9. That is why National Press Photographers

considered and rejected that same argument. See Br. for Plaintiffs-Appellees/Cross-Appellants, Nat’l

Press Photographers Ass’n, 2022 WL 17217876, at *20 (“A plaintiff need not ‘first expose himself to

actual arrest or prosecution’ to have standing.”). All told, Plaintiffs simply lack standing for a vagueness

claim when “the available evidence suggests that Defendants have never enforced [Act 259] against

Plaintiffs (or anybody else).” Nat’l Press Photographers, 90 F.4th at 782.

        Bound by National Press Photographers, Plaintiffs attempt to distinguish it as dealing with a

“moribund” statute rather than a “recent” statute, like here. MTD Opp. 9. But, perhaps unsurprisingly,

that moribund-versus-recent distinction is nowhere to be found across the 29-paragraph standing

analysis in National Press Photographers, 90 F.4th at 781–85. And the last place Plaintiffs claim to find it

is 50-plus-years ago in the companion case to Roe v. Wade premised on standing for a since-abrogated

right to abortion. See Doe v. Bolton, 410 U.S. 179, 189 (1973), abrogated by Dobbs v. Jackson Women’s Health

Org., 597 U.S. 215 (2022). But as Dobbs made clear, “abortion cases ha[d] diluted the strict standard




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for facial constitutional challenges,” so there is no reason resuscitate Doe or Roe for the standing

analysis here. 597 U.S. at 286.

        C. Attorney General Murrill and Colonel Hodges Are Entitled to Sovereign
           Immunity.

        The claims against Attorney General Murrill and Colonel Hodges also must be dismissed

because both are entitled to sovereign immunity. Plaintiffs still do not identify any ongoing violation

of federal law. See NiGen Biotech, L.L.C. v. Paxton, 804 F.3d 389, 394 (5th Cir. 2015) (“It is true that a

complaint must allege that the defendant is violating federal law.”). And they still fail to allege that

Attorney General Murrill and Colonel Hodges have the requisite authority to enforce Act 259 and

have demonstrated a willingness to act on that supposed authority. See Tex. All. for Retired Americans v.

Scott, 28 F.4th 669, 671 (5th Cir. 2022); accord Mi Familia Vota v. Ogg, 105 F.4th 313 (5th Cir. 2024).

        Plaintiffs’ return to the well of the Attorney General’s and State Police’s generalized duties to

enforce the laws is not enough under settled Fifth Circuit precedent. MTD Opp. 10–13. It must be a

“particular duty to enforce” this Act through “compulsion or constraint.” Scott, 28 F.4th at 671.

Recognizing they fall short of the Fifth Circuit’s well-trodden compulsion-constraint and willingness-

to-enforce standards, Plaintiffs claim they need only show “a refusal to ‘disavow[ ] enforcement’” in

litigation—never mind that they cite zero Fifth Circuit cases holding that Plaintiffs can duck the Ex

Parte Young inquiry that way. MTD Opp. 11 (quoting Comput. & Commc’ns Indus. Ass’n v. Paxton (CCIA),

2024 WL 4051786, at *6 (W.D. Tex. Aug. 30, 2024)). For good reason: It is entirely circular to suggest

that Defendants by virtue of defending themselves in a lawsuit are subjecting themselves to that

lawsuit via Ex parte Young. That is nonsensical—and, more importantly, not the law.




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II.     The Court Should Dismiss Plaintiffs’ Claims Under Rule 12(b)(6) For Failure To State
        A Claim For Relief.

        A. Plaintiffs’ First Amendment As-Applied Claim Fails (Count I).

        1. Act 259 explicitly regulates conduct, not speech. That laws “regulating conduct often have

incidental effects on speech” “does not require courts to treat them as if they were regulations of

speech.” Morgan v. White, 964 F.3d 649, 652 (7th Cir. 2020). To be subject to First Amendment

scrutiny, the law must be “specifically addressed to speech or to conduct necessarily associated with

speech.” Virginia v. Hicks, 539 U.S. 113, 124 (2003). This is where Plaintiffs’ as-applied claim comes

up short: Plaintiffs concede that nothing in Act 259’s text is directed toward their speech. MTD Opp.

18 (“Plaintiffs never argued that” “Act does [] mention[s] ‘newsgathering, recording, photographing,

or documenting.’ ”). And because Act 259 has “nothing to do with speech or even expressive activity,”

it does “not implicate the First Amendment” at all. Nat’l Press Photographers Ass’n, 90 F.4th at 788. That

should spell the end of Plaintiffs’ as-applied claim.

        Resisting that conclusion, Plaintiffs claim (at 16) “[e]very court … agrees that police orders to

move directly implicate the First Amendment even when they make no reference to speech or

recording.” That is an overstatement—not least because the star Supreme Court case they cite for that

proposition did not even resolve a First Amendment claim. See Shuttlesworth v. City of Birmingham, 382

U.S. 87, 95 (1965) (“violation of due process to convict and punish him without evidence of his guilt”).

And their back-up non-precedential Fifth Circuit case, which concerns a largely free-exercise-based

retaliation claim—if it offers anything relevant—only underscores Plaintiffs’ ripeness and standing

issues detailed above. See supra Sections I.A, I.B; World Wide St. Preachers Fellowship v. Town of Columbia,

245 F. App’x 336, 344 (5th Cir. 2007) (“Columbia’s police officers threatened to arrest Plaintiffs if

they did not leave the demonstration.”); see also Jordan v. Jenkins, 73 F.4th 1162, 1168 (10th Cir. 2023)

(discussing Fourth Amendment unlawful arrest claim based on First Amendment retaliation). In other



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word, no court agrees that a statute facially restricting movement is a speech restriction. And that is

precisely what the Fifth Circuit said in National Press Photographers Association, 90 F.4th at 788.

         Plaintiffs also continue to insist Act 259 excludes them from a traditional public forum for

speech. MTD Opp. 17. But the text of the Act does not do that. It says only “No person shall

knowingly or intentionally approach within twenty-five feet of a peace officer who is lawfully engaged

in the execution of his official duties after the peace officer has ordered the person to stop approaching

or to retreat.” La. R.S. 14:109(A). That is a far cry from expressly banning “access to ‘public ways’ and

‘sidewalks’ ” outside abortion clinics, McCullen v. Coakley, 573 U.S. 464, 476 (2014) (cleaned up), or

prohibiting “photographing and otherwise recording hunting,” Brown v. Kemp, 86 F.4th 745 (7th Cir.

2023).

         2. If Act 259 regulates speech (and it does not), it is, at most, a facially generally applicable

buffer zone law. Act 259’s text “is agnostic as to content.” City of Austin v. Reagan Nat’l Advert. of Austin,

LLC, 596 U.S. 61, 69 (2022). And “a facially neutral law” like Act 259 “does not become content

based simply because it may disproportionately affect speech on certain topics.” McCullen, 573 U.S at

480; contra MTD Opp. 18.

         Against this settled law, Plaintiffs resort to an entirely different First Amendment context:

cases regarding permitting and licensing policies for traditional public fora. MTD Opp. at 18; Smith v.

Exec. Dir. of Indiana War Memorials Comm’n, 742 F.3d 282, 289 (7th Cir. 2014) (“a permit policy cannot

invest ‘unbridled discretion’ in the person who decides whether a permit will issue” (citing Forsyth

County v. Nationalist Movement, 505 U.S. 123, 129–30 (1992)). That is problematic for at least three

reasons. First, an “unbridled discretion” claim is a separate claim—not alleged as such in the

Complaint—with a separate test nowhere even close to satisfied here. See Moore v. Brown, 868 F.3d 398,

406 (5th Cir. 2017) (“Moore’s unbridled discretion claim fails.”). Second, such an unbridled discretion

claim can be brought only in a facial posture—not in an as-applied posture as pressed here. See Freedom

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From Religion Found. v. Abbott, 955 F.3d 417, 427 (5th Cir. 2020) (It “creates proof problems in as-

applied challenges”). Third, and most fundamentally, that doctrine concerns only public and limited-

public fora permits and licensing schemes that otherwise operate as prior restraints on speech, and it

has never been extended beyond that context. See id. (collecting cases). It has no application here.

        3. In all events, the Act satisfies intermediate scrutiny. It need only “further[ ] an important or

substantial governmental interest” that is “unrelated to the suppression of free expression” and that

incidentally burdens First Amendment speech “no greater than is essential to the furtherance of that

interest.” Turner Broad. Sys., Inc. v. F.C.C., 512 U.S. 622, 662 (1994) (cleaned up). As always, Act 259

“need not be the least speech-restrictive means of advancing the Government’s interests.” Id. (cleaned

up). As detailed at length, the Act furthers a host of significant government interests, from protecting

peace officers to ensuring efficient administration of justice. See MTD Mem 18–20. And compared to

that mountain of significant government interests behind Act 259, Plaintiffs’ supposed burden of

potentially need to record from 25 feet away in some hypothetical circumstance that has never yet

occurred is minimal. See id. The Act thus satisfies intermediate scrutiny.

        Plaintiffs do not (and could not) dispute that Act 259 furthers governmental interests like

public safety that are, of course, important and substantial. Instead, they wrongly assume intermediate

scrutiny includes a “narrow tailoring” component. See MTD Opp. 20. To conjure that requirement,

Plaintiffs cite several cases—not one even claiming to apply intermediate scrutiny. See Serafine v.

Branaman, 810 F.3d 354, 361 (5th Cir. 2016) (applying “exacting scrutiny”); Holder v. Humanitarian L.

Project, 561 U.S. 1, 27–28 (2010) (applying “more rigorous scrutiny” than “intermediate scrutiny”); In

re Express-News Corp., 695 F.2d 807, 808–09 (5th Cir. 1982) (describing strict scrutiny); Reed v. Lieurance,

863 F.3d 1196, 1211 (9th Cir. 2017) (describing Ninth Circuit’s test for reasonableness of time, place,

manner restriction).




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        Finally, Plaintiffs’ continued reliance on Perkins v. Hart, 2023 WL 8274477, at *7 (5th Cir.

Nov. 30, 2023), is confounding. MTD Opp. 21. It remains irrelevant, as the Fifth Circuit panel there

said nothing about a maximum perimeter for buffer zones. MTD Mem. 20. And Plaintiffs’ highlighting

of Judge Ho’s dissent is especially puzzling given that he rejects the entire premise of their case: “[t]he

Constitution does not compel police officers to affirmatively help a citizen secure the ideal camera

angle….” Id. at *8.

        B. Plaintiffs’ Facial Overbreadth Claim Fails (Count II).

        The facial challenge to Act 259 also fails. “[F]acial challenges to state laws are difficult to

successfully mount.” NetChoice, 2024 WL 4704574, at *1 (remand order from Moody). “[T]he question

is whether a substantial number of the law’s applications are unconstitutional, judged in relation to the

statute’s plainly legitimate sweep.” Moody, 144 S. Ct. at 2397 (cleaned up). That “require[s] a court to

‘explore the law[’s] full range of applications—the constitutionally impermissible and permissible

both—and compare the two sets.’ ” Id. at *1 (quoting Moody, 144 S. Ct. at 2398 and adding emphasis).

And “Plaintiffs can meet this burden ‘only if the law’s unconstitutional applications substantially

outweigh its constitutional ones.’ ” Id. (quoting Moody, 144 S. Ct. at 2397). “In the absence of a lopsided

ratio, courts must handle unconstitutional applications as they usually do—case-by-case.” United States

v. Hansen, 599 U.S. 762, 770 (2023).

        In response, Plaintiffs just shuck Moody to the side. See MTD Opp. 22–24. They first attempt

to dodge it altogether. On their telling, their challenge is not “one of overbreadth,” MTD Opp. 22

n.8—though their Complaint differs on that score, Compl. at 16 (“COUNT II: Violation of the First

Amendment (Facial Overbreadth)”). Instead, they say, their claim concerns the “unbridled discretion”

vested by the Act. MTD Opp. 22. But as explained above, supra Section II.A, that test has no

application beyond permitting and licensing schemes, so it gets them nowhere.




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        Plaintiffs next attempt to engage Moody’s first step by listing just four possible applications of

a “list” that “could go on” “infinit[ly].” MTD Opp. 22–23. But that comes nowhere close to identifying

the “ ‘what actors’ are covered by” Act 259 and “ ‘[w]hat activities’ by those actors are covered by” Act

259. NetChoice, 2024 WL 4704574, at *2. As the Supreme Court admonished, “focusing on [Act 259]’s

‘heartland applications’ ” is not enough. Id. So naming just a few “ ‘examples’ [is] only the tip of the

iceberg.” Id. “ ‘[T]here is much work to do [ ]’ on the first step.” NetChoice, 2024 WL 4704574, at *2.

And Plaintiffs have not done it.

        Nor did they meaningfully engage step two of Moody. For that step, too, “[t]here is a serious

need for factual development.” Id. Plaintiffs must explain “how each covered actor” will be regulated

by the law “asking, again as to each thing covered, whether the [Act 259] unduly burden[s] expression.”

Id. at *3. That starts by proving “whether each covered actor … is even engaging in expressive activity

at all.” Id. “Then for each covered [actor] engaging in expressive activity,” the question becomes “how

much the requirement [of the Act] burdens the actor’s expression.” Id. At best, Plaintiffs offer their

take on the very last question as applied to them. MTD Opp. 23. (“nothing in its plain text asks

whether an individual’s presence within 25 feet ‘risk[s] substantial harm or if dispersal is otherwise

necessary’ to serve any legitimate interest”). But that falls well short of what Moody demands.

        Despite their burden, Plaintiffs are silent as to nearly all of these threshold questions. See id.

(“It is plaintiffs’ burden….”). Without answering them, it is impossible to decide whether Act 259

“prohibits a substantial amount of protected speech relative to its plainly legitimate sweep.” Moody,

144 S. Ct. at 2409. And that failure to carry their burden warrants dismissal.

        C. Plaintiffs’ Void-for-Vagueness Claim Fails (Count III).

        Act 259 is not unconstitutionally vague, even if Plaintiffs’ standing for such a claim were not

so clearly foreclosed. See supra Section I.C. Much like Covid-19 social-distancing mandates, “there is

nothing vague about what the [buffer] provision requires—[25] feet of separation.” Case v. Ivey, 542 F.


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Supp. 3d 1245, 1271 (M.D. Ala. 2021), aff’d, 2022 WL 2441578 (11th Cir. July 5, 2022). Indeed,

Plaintiffs altogether abandon any confusion they had about the statute that would create a notice issue.

See MTD Opp. 13–16. That alone is enough to dismiss their vagueness claim on the merits.

        Plaintiffs gesture at the alleged chilling of their speech based on the “vagueness” of Act 259’s

enforcement—as articulated by an Indiana district court enjoining Indiana’s buffer law on vagueness

grounds. See MTD Opp. 13–16; Reps. Comm. for Freedom of the Press v. Rokita, No. 1:23-CV-1805-JRS-

MG, 2024 WL 4333137 (S.D. Ind. Sept. 27, 2024). That argument and that decision are woefully wrong

under Fifth Circuit and the Supreme Court’s precedents.

        In fact, Plaintiffs’ bootstrapping their vagueness claims to First Amendment interests is

foreclosed by one of the very cases on which they principally rely. Holder v. Humanitarian Law Project,

561 U.S. 1 (2010), teaches that Plaintiffs cannot “merge[ ] [their] vagueness challenge with their First

Amendment claims.” Id. at 20. In other words, Plaintiffs “cannot raise a successful vagueness claim”

on the premise that “speech is clearly proscribed” (however flawed). Id. They “may have a valid

overbreadth claim under the First Amendment,” as Plaintiffs have tried to assert here. Id. But the

Supreme Court’s “precedents make clear that a [ ] vagueness challenge does not turn on whether a law

applies to a substantial amount of protected expression.” Id. “Otherwise the doctrines would be

substantially redundant.” Id.; see Grayned v. City of Rockford, 408 U.S. 104, 114–115 (1972) (rejecting a

vagueness challenge to a criminal law for implicating First Amendment activities); Scales v. United States,

367 U.S. 203, 223 (1961).

        So vagueness must be assessed on its own merits. “[T]o be unconstitutionally vague, a statute

must be impermissibly vague in all its applications, including its application to the party bringing the

vagueness challenge.” United States v. Rafoi, 60 F.4th 982, 996 (5th Cir. 2023). A statute need only

“define the criminal offense with sufficient definiteness that ordinary people can understand what

conduct is prohibited and in a manner that does not encourage arbitrary and discriminatory

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enforcement.’ ” Id. Plaintiffs complain solely about an officer’s discretion in issuing an order, but no

one violates the law or is subject to arrest simply for being ordered to stand back while an officer

executes his lawful duties. See La. R.S. 14:109(A). More, the initial order from a peace officer is itself

a built-in notice-provision: Officers have to first vocalize to a bystander both (1) what they cannot

do—“knowingly or intentionally approach within twenty-five feet”—and (2) who they cannot

approach—“a peace officer who is lawfully engaged in the execution of his official duties.” La. R.S.

14:109(A). So it is hard to envision how Act 259 could give reasonable bystanders any more express

notice “that their conduct is at risk” of violating the law. Rafoi, 60 F.4th at 996.

                                       PRAYER FOR RELIEF

        Defendants respectfully request that this Court grant Defendants’ motion to dismiss and

dismiss Counts I, II, and III of Plaintiffs’ Complaint.

 Dated: November 27, 2024                           Respectfully submitted,


                                                     /s/ Caitlin Huettemann
                                                    CAITLIN HUETTEMANN (La #40402)
                                                     Assistant Solicitor General
                                                    ZACHARY FAIRCLOTH (La #39875)
                                                     Principal Deputy Solicitor General
                                                    OFFICE OF THE LOUISIANA ATTORNEY GENERAL
                                                    1885 North Third Street
                                                    Baton Rouge, LA 70804
                                                    Telephone: (225) 326-6766
                                                    Facsimile: (225) 326-6795
                                                    huettemannc@ag.louisiana.gov
                                                    fairclothz@ag.louisiana.gov

                                                    Counsel for Defendants Liz Murrill, in her official capacity
                                                    as Attorney General of Louisiana, Robert P. Hodges, in his
                                                    official capacity as Superintendent of the Louisiana State
                                                    Police, and Hillar C. Moore, III, in his official capacity as
                                                    District Attorney of East Baton Rouge Parish




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